
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-372-CV



IN RE LIONEL D. MURPHY, JR.	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

PER CURIAM





PANEL: &nbsp;DAUPHINOT, LIVINGSTON, and MCCOY, JJ.



DELIVERED: &nbsp;October 9, 2008 &nbsp;

FOOTNOTES
1:See
 
T
ex
. R. A
pp
. P. 47.4.




